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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
             Debtors.




                                         AFFIDAVIT OF SERVICE

       I, Brian Horman, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On July 12, 2024, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on the Core/2002 Service List attached
hereto as Exhibit A:

     •   Debtors’ Motion for Entry of an Order (A) Authorizing the Debtors’ Entry into, and
         Performance Under, the Proposed Settlement with the United States Commodity Futures
         Trading Commission, (B) Approving the Proposed Settlement and (C) Granting Related
         Relief [Docket No. 20344]




                                [Remainder of page intentionally left blank]




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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Dated: July 16, 2024
                                                         /s/ Brian Horman
                                                         Brian Horman
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on July 16, 2024, by Brian Horman, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ Cindy C. Hosein-Mohan
Notary Public, State of New York
No. 01HO6295177
Qualified in Nassau County
Commission Expires December 30, 2025




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                                                                                                                                                  Exhibit A
                                                                                                                                             Core/2002 Service List
                                                                                                                                            Served as set forth below




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                                                                                                                                                             Exhibit A
                                                                                                                                                        Core/2002 Service List
                                                                                                                                                       Served as set forth below




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                                                DESCRIPTION                                                             NAME                                                   ADDRESS                                                             EMAIL               METHOD OF SERVICE




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                                               DESCRIPTION                                   NAME                                                        ADDRESS                                                         EMAIL                       METHOD OF SERVICE

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                                                                                                                                                               Exhibit A
                                                                                                                                                          Core/2002 Service List
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